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     "lhAO 245B (CASD) (Rev. 8/11)   Judgment in a Criminal Case
               Sheet I



                                                                                                                                   DEC 0 1           'l
                                                                                                                                                     Ii
                                               UNITED STATES DISTRICT COUR1


                                         v.                                        (For Offenses Committed On or After November I, 1987)

                FELICITAS GURROLA DE MASON (1)                                     Case Number: IICR1394-DMS
                                                                                    Thomas P Matthews CJA
                                                                                   Defendant's Attorney
    REGISTRATION NO. 25296298

    o
    THE DEFENDANT:
    Igj pleaded guilty to count(s) _1_o_f_th_e_I_n_d_ic_tm_en_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the dcfendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                           Nature of Offense                                                                            Number!s)
18 USC 371,                            CONSPIRACY TO BRING IN ILLEGAL ALIENS FOR FINANCIAL GAIN,                                            I
 8 USC 1324(a)(2)(B)(ii),                 AND FRAUD AND MISUSE OF VISAS, PERMITS, AND OTHER
 and 18 USC 1546                          DOCUMENTS




        The defendant is sentenced as provided in pages 2 through _ _4.:-_of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s)
 181 Count(s)_r_em_ai_ni_n:;:;.g_ _ _ _ _ _ _ _ _ _---------------------------
                                                    _ _ _ _ _ _ is 0 arel8l dismissed on the motion of the United States.
 181 Assessment: $100.00 ordered waived.

 181 Fine waived                                     o     Forfeiture pursuant to order filed
                                                                                                 ---------                     , included herein.
       IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States attorney of any material change in the defendant's economic circumstances.

                                                                               DECEMBER I, 2011




                                                                              HON. DANA
                                                                              UNITED STATES DISTRICT JUDGE
                                                                                                                                                IICRI394-DMS
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AO 2458 (CASD) (Rev Sill)    Judgment in a Criminal Case
           Sheet 2   Imprisonment

                                                                                                                    Judgment -   Page _...;;2_ of               4
 DEFENDANT: FELICITAS GURROLA DE MASON (I)
 CASE NUMBER: llCR1394-DMS
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         THIRTY (30) MONTHS.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         Defendant be designated to the same facility as Hilda Patricia Moreno Gurrola, Bkg # 25300298.
         Defendant be designated to a facility in the Western Region of the United States.



    o   The defendant is remanded to the custody of the United States Marshal.

    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                         Oa.m.          Op.m.          on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                      -----------------------------------------------------------------------------------------------------------------------------------------------
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.



                                                                          RETURN
 1 have executed this judgment as follows:

         Defendant delivered on                                                                    to

 at ___________________________________________ , with a certified copy of this judgment.


                                                                                                                 UNITED STATES MARSHAL


                                                                                  By __________~~~~~~~~~~--------
                                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                                                  llCR1394-DMS
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AO 245B (CASD) (Rev. 8111) Judgment in a Criminal Case
             Sheet 3 -   Supervised Release
                                                                                                              }udgment--Page    ~         of _ _4:...-_ _
DEFENDANT: FELICITAS GURROLA DE MASON (1)                                                             D
CASE NUMBER: llCR1394-DMS
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of;
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any sueh fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this eourt. The defendant shall also comply with
any special eonditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the eourt or probation officer;
  2)     the defendant shall report to the probation offieer and shall submit a truthful and complete written report within the first five days of
         eaeh month;
  3)     the defendant shall answer truthfully all inquiries by the probation offieer and follow the instructions of the probation offieer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful oceupation, unless excused by the probation offieer for sehooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substanee or any paraphernalia related to any controlled substanees, exeept as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit eonfiscation of any
         contraband observed in plain view of the probation officer;
 II)     the defendant shall noti fy the probation offieer within seventy-two hours of being arrested or questioned by a law enforcement offieer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 \3)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's eriminal
         record or personal history or eharacteristics and shall permit the probation officer to make sueh notifieations and to confirm the
         defendant's compliance with sueh notification req uirement.
                                                                                                                                       llCR1394-DMS
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       AO 245B (CASD) (Rev. 8/11) Judgment in a Criminal Case
                   Sheet 4   Speeial Conditions
                                                                                                         Judgment-Page --i.- of _--.:4_ __
       DEFENDANT: FELICITAS GURROLA DE MASON (I)                                                   II
       CASE NUMBER: llCR1394-DMS




                                              SPECIAL CONDITIONS OF SUPERVISION
o   Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

181 If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally; supervision waived upon
    deportation, exclusion or voluntary departure.
o Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
o Not enter or reside in the Republic of Mexico without written permission of the probation officer.
o Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o psychiatrist/physician,
  Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
                           and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o Take  no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
  officer, if directed.
o Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
o Seek and maintain full time employment and/or schooling or a combination of both.
o Resolve all outstanding warrants within       days.
o   Complete           hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

o probation
  Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
             officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




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